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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CASE NO.: 1:23-CR-000143

UNITED STATES OF AMERICA,
VS.
MICHAEL DANIELE,

Defendant.
/

DEFENDANT, MICHAEL DANIELE’S NOTICE OF FILING LETTERS
REGARDING SENTENCING

The Defendant, MICHAEL DANIELE, files this notice of filing the attached letters for
the sentencing hearing:

1. Letter from Keith R. Purcell (Exhibit “A”’).

2. Letter from Joseph Curtrone (Exhibit “B’’).

3. Letter from Emilia Blasco (Exhibit “C”’).

4. Letter from Diane Fisler (Exhibit “D”).

5. Letter from Daniel D. Kilcomons, Jr. (Exhibit “E”).

6. Letter from Michael and Shannon Ogden (Exhibit “F”).

7. Letter from Joseph Cordinate, Retired Lieutenant Commander, N.Y.P.D. (Exhibit
“G”).

8. Letter from Thomas Piccione (Exhibit “H’’).

9. Letter from Chip Joyce (Exhibit “T’).

10. Letter from Marck C. Steadman, O.D. (Exhibit “J’”).

11. Letter from Kara D’ Agostino (Exhibit “K’”’).
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Letter from Cathy Infante (Exhibit “L’’).

Letter from Heather Daniele, FNTP (Exhibit “M”).
Letter from Andrew Daniele, D.C. (Exhibit “N”).
Letter from Marian Martinez (Exhibit “O”).

Letter from Jack Luther (Exhibit “P”’).

Letter from Andrew and Carole Gennusa (Exhibit “Q”).
Letter from Theresa Higgins — Daniele (Exhibit “R”).
Letter from Michael Andrew Daniele (Exhibit “S”).
Letter from Leanna Daniele (Exhibit “T”).

Letter from Tatum Daniele (Exhibit “U”).

Letter from Hector R. Iglesias, M.D. (Exhibit “V”’).
Letter from Colleen McNulty (Exhibit “W”).

Letter from Robert Manetta (Exhibit “X”’).

Letter from Christian Dammann (Exhibit “Y”).

Letter from Patrick J. Higgins and Nancy P. Higgins (Exhibit “Z”).

CERTIFICATE OF SERVICE ON THE FOLLOWING PAGE

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk

via the CM/ECF and an electronic notification was sent via email to Sarah.Martin@usdoj.gov,

Sarah C. Martin, Assistant United States Attorney, U.S. Attorney’s Office for the District of

Columbia, 601 D Street Northwest Washington, D.C. 20001 this 24" day of September, 2024.

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By:_/s/ Stuart N. Kaplan

Stuart N. Kaplan, ESQUIRE

Florida Bar No.: 647934

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Secondary Email: rbailey@stuartnkaplanpa.com

